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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                 WACO DIVISION

 SOLAS OLED LTD.,                             )
                                              )
                Plaintiff,                    )
                                              )       Civil Action No. 6:19-CV-00515-ADA
 v.                                           )
                                              )
 GOOGLE LLC,                                  )
                                              )
                Defendant.                    )
                                              )

                                    PROTECTIVE ORDER

       WHEREAS, Plaintiff Solas OLED Ltd. and Defendant Google LLC, hereafter referred to

as “the Parties,” believe that certain information that is or will be encompassed by discovery

demands by the Parties involves the production or disclosure of trade secrets, confidential business

information, or other proprietary information;

       WHEREAS, the Parties seek a protective order limiting disclosure thereof in accordance

with Federal Rule of Civil Procedure 26(c):

       THEREFORE, it is hereby stipulated among the Parties and ORDERED that:

1.     Each Party may designate as confidential for protection under this Order, in whole or in

       part, any document, information or material that constitutes or includes, in whole or in part,

       confidential or proprietary information or trade secrets of the Party or a Third Party to

       whom the Party reasonably believes it owes an obligation of confidentiality with respect to

       such document, information or material (“Protected Material”). Protected Material shall be

       designated by the Party producing it by affixing a legend or stamp on such document,

       information or material as follows: “CONFIDENTIAL.” The word “CONFIDENTIAL”

       shall be placed clearly on each page of the Protected Material (except deposition and



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      hearing transcripts and natively produced documents) for which such protection is sought.

      For deposition and hearing transcripts, the word “CONFIDENTIAL” shall be placed on

      the cover page of the transcript (if not already present on the cover page of the transcript

      when received from the court reporter) by each attorney receiving a copy of the transcript

      after that attorney receives notice of the designation of some or all of that transcript as

      “CONFIDENTIAL.”          For    natively     produced    Protected    Material,    the   word

      “CONFIDENTIAL” shall be placed in the filename of each such natively produced

      document.

2.    Any document produced under Patent Rules 2-2, 3-2, and/or 3-4 before issuance of this

      Order with the designation “Confidential” or “Confidential - Outside Attorneys’ Eyes

      Only” shall receive the same treatment as if designated “RESTRICTED - ATTORNEYS’

      EYES ONLY” under this Order, unless and until such document is redesignated to have a

      different classification under this Order.

3.    With respect to documents, information or material designated “CONFIDENTIAL,

      “RESTRICTED - ATTORNEYS’ EYES ONLY,” or “RESTRICTED CONFIDENTIAL

      SOURCE CODE” (“DESIGNATED MATERIAL”), 1 subject to the provisions herein and

      unless otherwise stated, this Order governs, without limitation: (a) all documents,

      electronically stored information, and/or things as defined by the Federal Rules of Civil

      Procedure; (b) all pretrial, hearing or deposition testimony, or documents marked as

      exhibits or for identification in depositions and hearings; (c) pretrial pleadings, exhibits to



        1 The term DESIGNATED MATERIAL is used throughout this Protective Order to refer
to the class of materials designated as “CONFIDENTIAL,” “RESTRICTED - ATTORNEYS’
EYES ONLY,” or “RESTRICTED CONFIDENTIAL SOURCE CODE,” both individually and
collectively.



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     pleadings and other court filings; (d) affidavits; and (e) stipulations. All copies,

     reproductions, extracts, digests and complete or partial summaries prepared from any

     DESIGNATED MATERIALS shall also be considered DESIGNATED MATERIAL and

     treated as such under this Order.

4.   A designation of Protected Material (i.e., “CONFIDENTIAL,” “RESTRICTED -

     ATTORNEYS’ EYES ONLY,” or “RESTRICTED CONFIDENTIAL SOURCE CODE”)

     may be made at any time. Inadvertent or unintentional production of documents,

     information or material that has not been designated as DESIGNATED MATERIAL shall

     not be deemed a waiver in whole or in part of a claim for confidential treatment. Any party

     that inadvertently or unintentionally produces Protected Material without designating it as

     DESIGNATED MATERIAL may request destruction of that Protected Material by

     notifying the recipient(s), as soon as reasonably possible after the producing Party becomes

     aware of the inadvertent or unintentional disclosure, and providing replacement Protected

     Material that is properly designated. The recipient(s) shall then destroy all copies of the

     inadvertently or unintentionally produced Protected Materials and any documents,

     information or material derived from or based thereon.

5.   “CONFIDENTIAL” documents, information and material may be disclosed only to the

     following persons, except upon receipt of the prior written consent of the designating party,

     upon order of the Court, or as set forth in paragraph 12 herein:

     (a)    outside counsel of record in this Action for the Parties;

     (b)    employees of such counsel assigned to and reasonably necessary to assist such
            counsel in the litigation of this Action;

     (c)    up to one in-house counsel for the Parties who has responsibility for making
            decisions dealing directly with the litigation of this Action; except that either party
            may in good faith request the other party's consent to designate one or more
            additional in-house counsel, the other party shall not unreasonably withhold such


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               consent, and the requesting party may seek leave of Court to designate such
               additional in-house counsel if the requesting party believes the other party has
               unreasonably withheld such consent;

       (d)     up to one (1) officer level designated employee of each of the Parties who either
               has responsibility for making decisions dealing directly with the litigation in this
               Action or who is assisting outside counsel in preparation for proceedings in this
               Action. Before access is given, the designated employee shall complete the
               Undertaking attached as Exhibit A hereto, which must be served upon the
               producing Party with a general description of the designated employee's role in this
               Action at least seven (7) days before access to the Protected Material is to be given
               to that designated employee. The producing Party shall have that seven day period
               to object to and notify the receiving Party in writing that it objects to disclosure of
               Protected Material to the designated employee. The Parties agree to promptly
               confer and use good faith to resolve any such objection. ;

       (e)     outside consultants or experts (i.e., not existing employees or affiliates of a Party
               or an affiliate of a Party) retained for the purpose of this litigation, provided that:
               (1) such consultants or experts are not presently employed by the Parties hereto for
               purposes other than this Action2; (2) before access is given, the consultant or expert
               has completed the Undertaking attached as Exhibit A hereto and the same is served
               upon the producing Party with a current curriculum vitae 3 of the consultant or
               expert at least seven (7) days before access to the Protected Material is to be given
               to that consultant or expert. Within seven (7) days of receipt of the disclosure of the
               consultant or expert, the producing Party or Parties may object in writing for good
               cause to the disclosure of Designated Material to the consultant or expert. In the
               absence of an objection at the end of the seven (7) day period, the consultant or
               expert shall be deemed approved under this Protective Order. There shall be no
               disclosure of Protected Material to the consultant or expert prior to expiration of
               this seven (7) day period. The Parties agree to promptly confer and use good faith

         2 For avoidance of doubt, an independent expert or consultant retained (as opposed to
employed) by a Party on another litigation would not be considered presently employed by the
Parties.

       3 For any such person, the curriculum vitae shall identify his/her (i) current employer(s),
(ii) each person or entity from whom s/he has received compensation or funding for work in his or
her areas of expertise or to whom the s/he has provided professional services, including in
connection with a litigation, at any time during the preceding five years; (iii) (by name and number
of the case, filing date, and location of court) any litigation in connection with which the s/he has
offered expert testimony, including through a declaration, report, or testimony at a deposition or
trial, during the preceding five years. If such consultant or expert believes any of this information
is subject to a confidentiality obligation to a third-party, then the s/he should provide whatever
information can be disclosed without violating any confidentiality agreements, and the Party
seeking to disclose Protected Material to the consultant or expert shall be available to meet and
confer with the designating Party regarding any such engagement.



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               to resolve any such objection. If the Parties are unable to resolve any objection, the
               objecting Party may file a motion with the Court within ten (10) days of the notice
               of its objection, or within such other time as the Parties may agree, seeking a
               protective order with respect to the proposed disclosure. The objecting Party shall
               have the burden of proving the need for a protective order. No disclosure shall occur
               until all such objections are resolved by agreement or Court order 4;

        (f)    independent litigation support services, including persons working for or as court
               reporters, graphics or design services, jury or trial consulting services, and
               photocopy, document imaging, and database services retained by counsel and
               reasonably necessary to assist counsel with the litigation of this Action; and

       (g)     the Court and its personnel.

6.     A Party shall designate documents, information or material as “CONFIDENTIAL” only

       upon a good faith belief that the documents, information or material contains confidential

       or proprietary information or trade secrets of the Party or a Third Party to whom the Party

       reasonably believes it owes an obligation of confidentiality with respect to such documents,

       information or material.

7.     Documents, information or material produced in this Action, including but not limited to

       Protected Material designated as DESIGNATED MATERIAL, shall be used by the Parties

       only in the litigation of this Action and shall not be used for any other purpose. Any person

       or entity who obtains access to DESIGNATED MATERIAL or the contents thereof

       pursuant to this Order shall not make any copies, duplicates, extracts, summaries or

       descriptions of such DESIGNATED MATERIAL or any portion thereof except as may be

       reasonably necessary in the litigation of this Action. Any such copies, duplicates, extracts,




       4 A party who has not previously objected to disclosure of Protected Material to an expert
or whose objection has been resolved shall not be precluded from raising an objection to an expert
at a later time if new material information about that expert is disclosed or discovered or if there
is a material change in the scope of the case in the scope of the case that gives rise to an objection
that could not have previously been made.



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        summaries or descriptions shall be classified DESIGNATED MATERIALS and subject to

        all of the terms and conditions of this Order.

8.      To the extent a producing Party believes that certain Protected Material qualifying to be

        designated CONFIDENTIAL is so sensitive that its dissemination deserves even further

        limitation, the producing Party may designate such Protected Material “RESTRICTED --

        ATTORNEYS’ EYES ONLY.”5 Furthermore, to the extent such Protected Material

        includes computer source code, graphic database systems (GDS) layout files, and/or live

        data (that is, data as it exists residing in a database or databases) (“Source Code Material”),

        the producing Party may designate such Protected Material as “RESTRICTED

        CONFIDENTIAL SOURCE CODE.”6

9.      For Protected Material designated RESTRICTED -- ATTORNEYS’ EYES ONLY, access

        to, and disclosure of, such Protected Material shall be limited to individuals listed in

        paragraphs 5(a-b) and (e-g).

10.     For Protected Material designated RESTRICTED CONFIDENTIAL SOURCE CODE, the

        following additional restrictions apply:


        5 “RESTRICTED -- ATTORNEYS' EYES ONLY” information includes: trade secrets;
technical information; technical practices, methods, or other know-how; pending but unpublished
patent applications; board materials; pricing data; financial data; sales information; customer-
confidential information; agreements or relationships with third parties; market projections or
forecasts; strategic business plans, selling or marketing strategies; new product development;
testing; manufacturing costs; or information regarding employees.

         6 “RESTRICTED CONFIDENTIAL SOURCE CODE” information includes source code,
object code (i.e., computer instructions and data definitions expressed in a form suitable for input
to an assembler, compiler, or other translator), microcode, register transfer language (“RTL”),
firmware, and hardware description language (“HDL”), as well as any and all programmer notes,
annotations, and other comments of any type related thereto and accompanying the code. For
avoidance of doubt, this includes source files, make files, intermediate output files, executable
files, header files, resource files, library files, module definition files, map files, object files, linker
files, browse info files, and debug files.



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       (a)     Access to a Party’s Source Code Material shall be provided only on “stand-alone”
               computer(s) (that is, the computer may not be linked to any network, including a
               local area network (“LAN”), an intranet or the Internet) in a secured locked room.
               The stand-alone computer(s) may be connected to a printer. The stand-alone
               computer(s) may only be located at the U.S. offices of the producing Party’s outside
               counsel.7 The stand-alone computer(s) shall have disk encryption and be password
               protected. Use or possession of any electronic input/output device (e.g., USB
               memory stick, mobile phone or tablet, camera or any camera-enabled device, CD,
               floppy disk, portable hard drive, laptop, or any device that can access the Internet
               or any other network or external system, etc.) is prohibited while accessing the
               computer containing the Source Code Material. All persons entering the locked
               room containing the stand-alone computer(s) must agree to submit to reasonable
               security measures to ensure they are not carrying any prohibited items before they
               will be given access to the stand-alone computer(s). The producing Party may
               periodically “check in” on the activities of the receiving Party’s representatives
               during any stand-alone computer review and may visually monitor the activities of
               the receiving Party’s representatives from outside the room in which the stand-
               alone computer(s) is located, but only to ensure that no unauthorized electronic
               records of the Source Code Material and no information concerning the Source
               Code Material are being created or transmitted in any way. For the sake of clarity,
               the “check in” on the activities of the receiving Party’s representatives shall not
               permit the producing Party to engage in monitoring that would reveal the electronic
               access record or the work product of the receiving Party’s representatives, and the
               producing Party will not attempt to discover the receiving Party’s work product
               and/or legal strategy.

       (b)     The receiving Party shall make reasonable efforts to restrict its requests for such
               access to the stand-alone computer(s) to normal business hours, which for purposes
               of this paragraph shall be 8:00 a.m. through 6:00 p.m. However, upon reasonable
               notice from the receiving party, the producing Party shall make reasonable efforts
               to accommodate the receiving Party’s request for access to the stand-alone
               computer(s) outside of normal business hours. The Parties agree to cooperate in
               good faith such that maintaining the producing Party’s Source Code Material at the
               offices of its outside counsel shall not unreasonably hinder the receiving Party’s
               ability to efficiently and effectively conduct the prosecution or defense of this
               Action;

       (c)     The producing Party shall provide the receiving Party with information explaining
               how to start, log on to, and operate the stand-alone computer(s) in order to access
               the produced Source Code Material on the stand-alone computer(s);


       7 Solas proposed the source code computer be produced in Los Angeles, whereas Google
and Samsung proposed the computer be produced within the continental United States. The parties
agree to keep discussing this issue and cooperate in good faith. Should the parties continue to have
a dispute, nothing in this agreement should be treated as a concession or argument about the
appropriate location of the source code computer.


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       (d)     The producing Party will produce Source Code Material in computer searchable
               format on the stand-alone computer(s) as described above;

       (e)     Access to Source Code Material shall be limited to outside counsel and up to three
               (3) outside consultants or experts8 (i.e., not existing employees or affiliates of a
               Party or an affiliate of a Party) retained for the purpose of this litigation and
               approved to access such Protected Materials pursuant to paragraph 5(e) above.

               To the extent portions of Source Code Material are quoted in an electronic copy or
               image of a document which, pursuant to the Court’s rules, procedures, or order,
               must be filed or served electronically (“Source Code Document”), either (1) the
               entire Source Code Document will be stamped and treated as RESTRICTED
               CONFIDENTIAL SOURCE CODE or (2) those pages containing quoted Source
               Code Material will be separately stamped and treated as RESTRICTED
               CONFIDENTIAL SOURCE CODE;

       (f)     Except as set forth in this paragraph, no electronic copies or images of Source Code
               Material shall be made without prior written consent of the producing Party. The
               receiving Party may create an electronic copy or image of limited excerpts of
               Source Code Material only to the extent necessary to create Source Code
               Documents or any drafts of these documents. The receiving Party shall only include
               such excerpts as are reasonably necessary for the purposes for which such part of
               the Source Code Material is used. Images or copies of Source Code Material shall
               not be included in correspondence between the parties (references to production
               numbers shall be used instead) and shall be omitted from pleadings and other papers
               except to the extent permitted herein. The receiving Party may create an electronic
               image of a selected portion of the Source Code Material only when the electronic
               file containing such image has been encrypted using commercially reasonable
               encryption software including password protection. The communication and/or
               disclosure of electronic files containing any portion of Source Code Material shall
               at all times be limited to individuals who are authorized to see Source Code
               Material under the provisions of this Protective Order. Additionally, all electronic
               copies must be labeled “RESTRICTED CONFIDENTIAL SOURCE CODE.” If
               Source Code Documents are filed with the Court, they must be filed under seal in
               accordance with the Court’s rules, procedures and orders.

       (h)     No person shall copy, e-mail, transmit, upload, download, print, photograph or
               otherwise duplicate any portion of the designated “RESTRICTED
               CONFIDENTIAL SOURCE CODE” material, except that the Receiving Party may
               request paper copies (“Source Code Printouts”) of limited portions of the Source
               Code Material, but only if and to the extent reasonably necessary for the preparation
               of court filings, pleadings, expert reports, or other papers, or for deposition or trial.

       8 For the purposes of this paragraph, an outside consultant or expert is defined to include
the outside consultant's or expert's direct reports and other support personnel, such that the
disclosure to a consultant or expert who employs others within his or her firm to help in his or her
analysis shall count as a disclosure to a single consultant or expert


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      If the receiving Party requests more than twenty-five (25) pages from any one
      document designated as RESTRICTED CONFIDENTIAL SOURCE CODE or five
      hundred (500) pages of RESTRICTED CONFIDENTIAL SOURCE CODE
      material in aggregate, the burden of establishing the need for such printouts shall
      rest with the receiving Party. The producing Party and receiving Party shall
      promptly meet and confer in good faith to resolve any disputes regarding the need
      for such printouts, and if no resolution can be reached, the receiving Party shall be
      entitled to seek a court resolution permitting additional print requests upon a
      showing of good cause. The receiving Party shall not request paper copies for the
      purposes of reviewing the source code other than electronically as set forth in
      paragraph (a) in the first instance. Within 3 business days or such additional time
      as necessary due to volume requested, the Producing Party will provide the
      requested material on watermarked or colored paper bearing Bates numbers and the
      legend “RESTRICTED CONFIDENTIAL SOURCE CODE” unless objected to as
      discussed below. At the inspecting Party’s request, up to three additional sets (or
      subsets) of printed source code may be requested and provided by the producing
      Party in a timely fashion. Even if within the limits described, the producing Party
      may challenge the amount of source code requested in hard copy form or whether
      the source code requested in hard copy form is reasonably necessary to any case
      preparation activity pursuant to the dispute resolution procedure and timeframes set
      forth in Paragraph 20 whereby the producing Party is the “requesting Party” and
      the receiving Party is the “designating Party” for purposes of dispute resolution.
      Contested Source Code Printouts do not need to be produced to the receiving Party
      until the matter is resolved by the Court.;

(i)   If the receiving Party’s outside counsel, consultants, or experts obtain Source Code
      Printouts, the receiving Party shall ensure that such outside counsel, consultants, or
      experts keep the Source Code Printouts under their direct control in a secured
      locked area in the offices of such outside counsel, consultants, or expert. The
      receiving Party may also temporarily keep the Source Code Printouts at: (i) the
      Court for any proceedings(s) relating to the Source Code Material, for the dates
      associated with the proceeding(s); (ii) the sites where any deposition(s) relating to
      the Source Code Material are taken, for the dates associated with the deposition(s);
      and (iii) any intermediate location reasonably necessary to transport the Source
      Code Printouts to a Court proceeding or deposition, provided that the printouts or
      photocopies are kept in a secure manner that ensures access is limited to the persons
      authorized under this Order;

(j)   A producing Party’s Source Code Material may only be transported by the
      receiving Party at the direction of a person authorized under paragraph 10(e) above
      to another person authorized under paragraph 10(e) above on paper via hand carry,
      Federal Express, or other similarly reliable courier. Source Code Material may not
      be transported or transmitted electronically over a network of any kind, including a
      LAN, an intranet, or the Internet, except as reasonably necessary for filing any
      Source Code Material with the Court or serving such Source Code Material on
      another Party;



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      When reasonably necessary for the purpose of Court proceeding(s) or deposition(s),
      the producing Party will provide a stand-alone computer with the relevant Limited
      Access Material for use by the receiving Party during the Court proceeding(s) or
      deposition(s);

(k)   The receiving Party’s outside counsel and/or expert shall be entitled to take notes
      relating to the source code but may not copy any portion of the source code into the
      notes. No copies of all or any portion of the source code may leave the room in
      which the source code is inspected except as otherwise provided herein. Further, no
      other written or electronic record of the source code is permitted except as
      otherwise provided herein. No notes shall be made or stored on the inspection
      computer, or left behind at the site where the inspection computer is made available,
      and any such notes shall be deleted or destroyed by the producing Party, without
      reviewing the substance of the notes, upon discovery. Notwithstanding the
      foregoing, any such notes shall be stamped and treated as “RESTRICTED
      CONFIDENTIAL SOURCE CODE.” The log of such notes need not be produced
      to any other party absent Court Order (e.g. potentially in connection with a
      Protective Order violation motion).

(l)   A list of names of persons who will review Source Code Material on the stand-
      alone computer(s) will be provided to the producing Party in conjunction with any
      written (including email) notice requesting inspection. Prior to the first inspection
      of any Source Code Material on the stand-alone computer(s), the receiving Party
      shall provide five (5) business days’ notice to schedule the initial inspection with
      the producing Party. The receiving Party shall provide three (3) business days’
      notice in advance of scheduling any additional inspections. Such notice shall
      include the names and titles for every individual from the receiving Party who will
      attend the inspection. The producing Party may maintain a daily log of the names
      of persons who enter the locked room to view the source code and when they enter
      and depart;

(m)   The receiving Party’s outside counsel shall maintain a log of all copies of the
      Source Code Printouts (received from a producing Party) that are delivered by the
      receiving Party to any person and a log of any electronic images of Source Code
      Material. The log shall include the names of the recipients and reviewers of copies
      and locations where the copies are stored. Upon request by the producing Party, the
      receiving Party shall provide reasonable assurances and/or descriptions of the
      security measures employed by the receiving Party and/or person that receives a
      copy of any portion of the source code; and

(n)   All copies of any portion of the Source Code Printouts in whatever form shall be
      securely destroyed if they are no longer in use Copies of Source Code Printouts that
      are marked as deposition exhibits shall not be provided to the Court Reporter or
      attached to deposition transcripts; rather, the deposition record will identify the
      exhibit by its production numbers.




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11.   Any attorney representing a Party, whether in-house or outside counsel, and any person

      associated with a Party and permitted to receive the other Party’s Protected Material that

      is designated CONFIDENTIAL, RESTRICTED -- ATTORNEYS’ EYES ONLY and/or

      RESTRICTED CONFIDENTIAL SOURCE CODE (collectively “HIGHLY SENSITIVE

      MATERIAL”), who obtains, receives, has access to, or otherwise learns, in whole or in

      part, the other Party’s HIGHLY SENSITIVE MATERIAL under this Order shall not

      prepare, prosecute, supervise, or assist in the preparation or prosecution of any patent

      application pertaining to the field of the invention of the patents-in-suit on behalf of the

      receiving Party or its acquirer, successor, predecessor, or other affiliate during the

      pendency of this Action and for one year after its conclusion, including any appeals. To

      ensure compliance with the purpose of this provision, each Party shall create an “Ethical

      Wall” between those persons with access to HIGHLY SENSITIVE MATERIAL and any

      individuals who, on behalf of the Party or its acquirer, successor, predecessor, or other

      affiliate, prepare, prosecute, supervise or assist in the preparation or prosecution of any

      patent application pertaining to the field of invention of the patents-in-suit. To avoid any

      doubt, “prosecution” as used in this paragraph does not include participating or assisting

      in challenging or defending any patents pertaining to the field of the invention of the

      patents-in-suit before a domestic or foreign agency (including, but not limited to, a reissue

      protest, ex parte reexamination, inter partes reexamination, inter partes review, post-grant

      review, or covered business method review), provided that such participation or assistance

      shall not, directly or indirectly, include suggesting, proposing for substitution, drafting, or

      amending patent claim language.




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12.   Any attorney representing a Party, whether in-house or outside counsel, and any person

      associated with a Party and permitted to receive the other Party’s Protected Material that

      is designated CONFIDENTIAL, RESTRICTED -- ATTORNEYS’ EYES ONLY and/or

      RESTRICTED CONFIDENTIAL SOURCE CODE, who obtains, receives, or otherwise

      learns the other Party’s RESTRICTED -- ATTORNEYS’ EYES ONLY and/or

      RESTRICTED CONFIDENTIAL SOURCE CODE material under this Order shall not

      participate in the acquisition of patents (including patent applications), or the rights to any

      such patents or patent applications with the right to sublicense, pertaining to the field of

      invention of the patents-in-suit on behalf of the receiving Party or its acquirer, successor,

      predecessor, or other affiliate during the pendency of this Action and for one year after its

      conclusion, including any appeals. To ensure compliance with the purpose of this

      provision, each Party shall create an “Ethical Wall” between those persons with access to

      HIGHLY SENSITIVE MATERIAL and any individuals who participate in the evaluation

      for possible acquisition, or the acquisition of any patent or patent application pertaining to

      the field of invention of the patents-in-suit.

13.   Nothing in this Order shall require production of documents, information or other material

      that a Party contends is protected from disclosure by the attorney-client privilege, the work

      product doctrine, or other privilege, doctrine, or immunity. Pursuant to Federal Rule of

      Evidence 502(d) and (e), if documents, information or other material subject to a claim of

      attorney-client privilege, work product doctrine, or other privilege, doctrine, or immunity

      is inadvertently or unintentionally produced, such production shall in no way prejudice or

      otherwise constitute a waiver of, or estoppel as to, any such privilege, doctrine, or

      immunity. Any Party that inadvertently or unintentionally produces documents,




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      information or other material it reasonably believes are protected under the attorney-client

      privilege, work product doctrine, or other privilege, doctrine, or immunity may obtain the

      return of such documents, information or other material by promptly notifying the

      recipient(s) and providing a privilege log for the inadvertently or unintentionally produced

      documents, information or other material. The recipient(s) shall gather and return all copies

      of such documents, information or other material to the producing Party, or certify in

      writing to the producing Party that such documents, information, or other material have

      been destroyed, except for any pages containing privileged or otherwise protected

      markings by the recipient(s), which pages shall instead be destroyed and certified as such

      to the producing Party.

14.   There shall be no disclosure of any DESIGNATED MATERIAL by any person authorized

      to have access thereto to any person who is not authorized for such access under this Order.

      The Parties are hereby ORDERED to safeguard all such documents, information and

      material to protect against disclosure to any unauthorized persons or entities.

15.   Nothing contained herein shall be construed to prejudice any Party’s right to use any

      DESIGNATED MATERIAL in taking testimony at any deposition or hearing provided

      that the DESIGNATED MATERIAL is only disclosed to a person(s) who is: (i) eligible to

      have access to the DESIGNATED MATERIAL by virtue of his or her employment with

      the designating party, (ii) identified in the DESIGNATED MATERIAL as an author,

      addressee, or copy recipient of such information, (iii) although not identified as an author,

      addressee, or copy recipient of such DESIGNATED MATERIAL, has, in the ordinary

      course of business, seen such DESIGNATED MATERIAL, (iv) a current or former officer,

      director or employee of the producing Party or a current or former officer, director or




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      employee of a company affiliated with the producing Party; (v) counsel for a Party,

      including outside counsel and in-house counsel (subject to paragraph 9 of this Order); (vi)

      an independent contractor, consultant, and/or expert retained for the purpose of this

      litigation; (vii) a court reporter or videographer; (viii) the Court; or (ix) any other person

      entitled hereunder to access to DESIGNATED MATERIAL. DESIGNATED MATERIAL

      shall not be disclosed to any other persons unless prior authorization is obtained from

      counsel representing the producing Party or from the Court. Parties shall give the other

      Parties reasonable notice if they reasonably expect a deposition, hearing or other

      proceeding to include Protected Material so that the other Parties can ensure that only

      authorized individuals are present at those proceedings. Subject to any challenge to a

      particular designation under paragraph 20, the Parties will not oppose any reasonable

      request by the designating Party that the courtroom be sealed, if allowed by the Court,

      during the presentation of any testimony, evidence, or argument relating to or involving

      the use of any Protected Material.

16.   Parties may, at the deposition or hearing or within thirty (30) days after receipt of a

      deposition or hearing transcript, designate the deposition or hearing transcript or any

      portion thereof as “CONFIDENTIAL,” “RESTRICTED - ATTORNEY’ EYES ONLY,”

      or “RESTRICTED CONFIDENTIAL SOURCE CODE” pursuant to this Order. Access to

      the deposition or hearing transcript so designated shall be limited in accordance with the

      terms of this Order. Until expiration of the 30-day period, the entire deposition or hearing

      transcript shall be treated as “RESTRICTED - ATTORNEY’ EYES ONLY.”

17.   Any DESIGNATED MATERIAL that is filed with the Court shall be filed under seal and

      shall remain under seal until further order of the Court. The filing party shall be responsible




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      for informing the Clerk of the Court that the filing should be sealed and for placing the

      legend “FILED UNDER SEAL PURSUANT TO PROTECTIVE ORDER” above the

      caption and conspicuously on each page of the filing. Exhibits to a filing shall conform to

      the labeling requirements set forth in this Order. If a pretrial pleading filed with the Court,

      or an exhibit thereto, discloses or relies on confidential documents, information or material,

      such confidential portions shall be redacted to the extent necessary and the pleading or

      exhibit filed publicly with the Court.

18.   The Order applies to pretrial discovery. Nothing in this Order shall be deemed to prevent

      the Parties from introducing any DESIGNATED MATERIAL into evidence at the trial of

      this Action, or from using any information contained in DESIGNATED MATERIAL at

      the trial of this Action, subject to any pretrial order issued by this Court. Notwithstanding

      the foregoing, a Party shall provide reasonable notice to the Producing Party in the event

      that a Party intends to use any Protected Information during trial. Subject to any challenges

      under Section 20, the Parties will not oppose any reasonable request by the Producing Party

      that the courtroom be sealed, if allowed by the Court, during the presentation of any

      testimony, evidence, or argument relating to or involving the use of any Protected Material.

19.   A Party may request in writing to the other Party that the designation given to any

      DESIGNATED MATERIAL be modified or withdrawn. If the designating Party does not

      agree to redesignation within ten (10) days of receipt of the written request, the requesting

      Party may apply to the Court for relief. Upon any such application to the Court, the burden

      shall be on the designating Party to show why its classification is proper. Such application

      shall be treated procedurally as a motion to compel pursuant to Federal Rules of Civil

      Procedure 37, subject to the Rule’s provisions relating to sanctions. In making such




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      application, the requirements of the Federal Rules of Civil Procedure and the Local Rules

      of the Court shall be met. Pending the Court’s determination of the application, the

      designation of the designating Party shall be maintained.

20.   Each outside consultant or expert to whom DESIGNATED MATERIAL is disclosed in

      accordance with the terms of this Order shall be advised by counsel of the terms of this

      Order, shall be informed that he or she is subject to the terms and conditions of this Order,

      and shall sign an acknowledgment that he or she has received a copy of, has read, and has

      agreed to be bound by this Order. A copy of the acknowledgment form is attached as

      Appendix A.

21.   To the extent that any discovery is taken of persons who are not Parties to this Action

      (“Third Parties”) and in the event that such Third Parties contended the discovery sought

      involves trade secrets, confidential business information, or other proprietary information,

      then such Third Parties may agree to be bound by this Order.

22.   To the extent that discovery or testimony is taken of Third Parties, the Third Parties or any

      Party may designate as “CONFIDENTIAL” or “RESTRICTED -- ATTORNEYS’ EYES

      ONLY” any documents, information or other material, in whole or in part, produced or

      given by such Third Parties. The Third Parties shall have ten (10) days after production of

      such documents, information or other materials to make such a designation. Until that time

      period lapses or until such a designation has been made, whichever occurs sooner, all

      documents, information or other material so produced or given shall be treated as

      “RESTRICTED -- ATTORNEYS’ EYES ONLY” in accordance with this Order. Where a

      Third Party designates any documents, information or other material as provided herein,

      experts previously disclosed and approved hereunder prior to said Third Party’s production




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      of any Protected Material need not be disclosed to said Third Party. Subsequently disclosed

      experts need not be disclosed to said Third Party before that Third Party’s Protected

      Material may be disclosed thereto.

23.   If a Party is served with a subpoena issued by a court, arbitral, administrative, or legislative

      body, or with a court order issued in other litigation that compels disclosure of any

      information or items designated in this action as “CONFIDENTIAL” or “HIGHLY

      CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or “HIGHLY CONFIDENTIAL –

      SOURCE CODE” that Party must: (a) promptly notify in writing the designating Party.

      Such notification shall include a copy of the subpoena or court order; (b) promptly notify

      in writing the person who caused the subpoena or order to issue in the other litigation that

      some or all of the material covered by the subpoena or order is subject to this Protective

      Order. Such notification shall include a copy of this Protective Order; and (c) cooperate

      with respect to all reasonable procedures sought to be pursued by the designating Party

      whose Protected Material may be affected. If the designating Party timely seeks a

      protective order, the Party served with the subpoena or court order shall not produce any

      information    designated    in   this   action   as   “CONFIDENTIAL”          or   “HIGHLY

      CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or “HIGHLY CONFIDENTIAL –

      SOURCE CODE” before a determination by the court from which the subpoena or order

      issued, unless the Party has obtained the designating Party’s permission. The designating

      Party shall bear the burden and expense of seeking protection in that court of its

      confidential material – and nothing in these provisions should be construed as authorizing

      or encouraging a receiving Party in this action to disobey a lawful directive from another

      court.




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24.   Within thirty (30) days of final termination of this Action, including any appeals, all

      DESIGNATED MATERIAL, including all copies, duplicates, abstracts, indexes,

      summaries, descriptions, and excerpts or extracts thereof (excluding excerpts or extracts

      incorporated into any privileged memoranda of the Parties and materials which have been

      admitted into evidence in this Action), shall at the producing Party’s election either be

      returned to the producing Party or be destroyed, except that outside counsel may retain one

      set of pleadings, correspondence and attorney and consultant work product (but not

      document productions) for archival purposes that either redact or do not contain Protected

      Material . The receiving Party shall verify the return or destruction by affidavit furnished

      to the producing Party, upon the producing Party’s request.

25.   The failure to designate documents, information or material in accordance with this Order

      and the failure to object to a designation at a given time shall not preclude the filing of a

      motion at a later date seeking to impose such designation or challenging the propriety

      thereof. The entry of this Order and/or the production of documents, information and

      material hereunder shall in no way constitute a waiver of any objection to the furnishing

      thereof, all such objections being hereby preserved.

26.   Any Party knowing or believing that any other party is in violation of or intends to violate

      this Order and has raised the question of violation or potential violation with the opposing

      party and has been unable to resolve the matter by agreement may move the Court for such

      relief as may be appropriate in the circumstances. Pending disposition of the motion by the

      Court, the Party alleged to be in violation of or intending to violate this Order shall

      discontinue the performance of and/or shall not undertake the further performance of any

      action alleged to constitute a violation of this Order.




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27.   Production of DESIGNATED MATERIAL by each of the Parties shall not be deemed a

      publication of the documents, information and material (or the contents thereof) produced

      so as to void or make voidable whatever claim the Parties may have as to the proprietary

      and confidential nature of the documents, information or other material or its contents.

28.   Nothing in this Order shall be construed to effect an abrogation, waiver or limitation of any

      kind on the rights of each of the Parties to assert any applicable discovery or trial privilege.

29.   Each of the Parties shall also retain the right to file a motion with the Court (a) to modify

      this Order to allow disclosure of DESIGNATED MATERIAL to additional persons or

      entities if reasonably necessary to prepare and present this Action and (b) to apply for

      additional protection of DESIGNATED MATERIAL.



SIGNED this ____th day of _________________, 2020.



                                              __________________________________________
                                              ALAN D. ALBRIGHT
                                              UNITED STATES DISTRICT JUDGE




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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                 WACO DIVISION

 SOLAS OLED LTD.,                           )
                                            )
              Plaintiff,                    )
                                            )       Civil Action No. 6:19-CV-00515-ADA
 v.                                         )
                                            )
 GOOGLE LLC,                                )
                                            )
              Defendant.                    )
                                            )

                            APPENDIX A
         UNDERTAKING OF EXPERTS OR CONSULTANTS REGARDING
                        PROTECTIVE ORDER

I,                                  , declare that:

1.    My address is                                                                       .

      My current employer is                                                              .

      My current occupation is                                                            .

2.    I have received a copy of the Protective Order in this action. I have carefully read and

      understand the provisions of the Protective Order.

3.    I will comply with all of the provisions of the Protective Order. I will hold in confidence,

      will not disclose to anyone not qualified under the Protective Order, and will use only for

      purposes   of this    action any information designated          as   “CONFIDENTIAL,”

      “RESTRICTED - ATTORNEYS’ EYES ONLY,” or “RESTRICTED CONFIDENTIAL

      SOURCE CODE” that is disclosed to me.

4.    Promptly upon termination of these actions, I will return all documents and things

      designated as “CONFIDENTIAL,” “RESTRICTED - ATTORNEYS’ EYES ONLY,” or

      “RESTRICTED CONFIDENTIAL SOURCE CODE” that came into my possession, and



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       all documents and things that I have prepared relating thereto, to the outside counsel for

       the party by whom I am employed.

5.     I hereby submit to the jurisdiction of this Court for the purpose of enforcement of the

       Protective Order in this action.

       I declare under penalty of perjury that the foregoing is true and correct.

Signature

Date




                                                 2
